Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 1 of 31 PageID.152



  Alan Alexander Beck
  Law Office of Alan Beck
  2692 Harcourt Drive
  San Diego, CA 92123
  (619) 905-9105
  Hawaii Bar No. 9145
  Alan.alexander.beck@gmail.com

  Stephen D. Stamboulieh
  Stamboulieh Law, PLLC
  P.O. Box 4008
  Madison, MS 39130
  (601) 852-3440
  stephen@sdslaw.us
  MS Bar No. 102784
  *Admitted Pro Hac Vice

  Attorneys for Plaintiffs
  ANDREW TETER & JAMES GRELL

                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

  ANDREW TETER and JAMES               )
  GRELL                                ) Civil No. 1:19-cv-00183 ACK-WRP
                                       )
         Plaintiffs,                   )
                                       ) MEMORANDUM IN SUPPORT OF
  v.                                   ) MOTION
                                       )
  CLARE E. CONNORS, in her             )
  Official Capacity as the Attorney    )
  General of the State of Hawaii and AL)
  CUMMINGS in his Official Capacity )
  as the State Sheriff Division        )    TRIAL: June 16, 2020 9AM
  Administrator                        )    JUDGE: Hon. Alan C. Kay
                                       )    HEARING: Not Scheduled
         Defendants.                   )
  _______________________________)
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 2 of 31 PageID.153



         PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR
                        SUMMARY JUDGMENT


                           TABLE OF CONTENTS

  I.     Introduction………………………………………………………………….1

  II.    Legal Standard……………………………………………….……...……….2

  III.   Knives Are Protected by the Second Amendment..…….……….…………..3

  IV.    This Court Should Find Hawaii’s Butterfly Knife Ban Categorically
         Unconstitutional………………………………………………………....…12

         a. Strict Scrutiny Should Apply……………………………………..….…15

         b. Under Intermediate Scrutiny Hawaii’s Butterfly Knife Ban is
            Unconstitutional………………………………………………….……..19

  V.     Conclusion……..…………………………………………………...…...….25




                                      ii
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 3 of 31 PageID.154



                                         TABLE OF AUTHORITIES

  Cases

  Avitabile v. Beach, 2019 U.S. Dist. LEXIS 47506, __ F. Supp. 3d __, 2019 WL
    1302858...................................................................................................................7
  Bateman v. Perdue 881 F.Supp.2d 709 (2012) ........................................................17
  Binderup v. Att’y Gen., 836 F.3d 336 (3d Cir. 2016) (en banc) ..............................23
  Broussard v. Univ. of Cal. at Berkeley, 192 F.3d 1252 (9th Cir. 1999) ....................3
  Caetano v. Massachusetts, 136 S. Ct. 1027, 194 L. Ed. 2d 99 .................................3
  Celotex Corp. v. Catrett, 477 U.S. 317, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) ..3
  City of Akron v Rasdan, 663 NE2d 947 (Ohio Ct. App., 1995) ................................9
  City of Seattle v. Evans, 366 P.3d 906 (2015) ...........................................................8
  District of Columbia v. Heller, 554 U.S. 570 (2008) ...................................... passim
  Duncan v. Becerra, 265 F. Supp. 3d 1106, 1120, 2017 U.S. Dist. LEXIS 101549
    2017 WL 2813727 ......................................................................................... 20, 21
  Duncan v. Becerra, 366 F. Supp. 3d 1131, 2019 U.S. Dist. LEXIS 54597 ............21
  Ezell v. City of Chicago (“Ezell II”), 846 F.3d 888 (7th Cir. 2017) ........................19
  Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011) ...........................................18
  Fisher v. Kealoha, 855 F.3d 1067, 1071, 2017 U.S. App. LEXIS 8007, *9, 2017
    WL 1753271 .................................................................................................. 15, 16
  Fletcher v. Haas, 851 F. Supp. 2d 287 (D. Mass. 2012) .................................. 20, 22
  Fyock v. City of Sunnyvale, 779 F.3d 991, 2015 U.S. App. LEXIS 3471 .................3
  Hatfield v. Sessions, No. 3:16-cv-00383-JPG-RJD, 2018 U.S. Dist. LEXIS 70431
    (S.D. Ill. Apr. 26, 2018) ........................................................................................18
  Heller v. District of Columbia, 419 U.S. App. D.C. 287, 801 F.3d 264 (2015)......24
  Ill. Ass’n of Firearms Retailers v. City of Chicago, 961 F. Supp. 2d 928 (N.D. Ill.
    2014) .....................................................................................................................19


                                                               iii
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 4 of 31 PageID.155



  In re Interest of Doe, 73 Haw. 89, 828 P.2d 272, 1992 Haw. LEXIS 32 ................12
  Jackson v. City & County of San Francisco, 746 F.3d 953, 2014 U.S. App. LEXIS
    5498, 2014 WL 1193434 ......................................................................... 13, 16, 20
  Keyes v. Sessions, 282 F. Supp. 3d 858 (M.D. Pa. 2017) ........................................23
  Maloney v. Singas, 351 F. Supp. 3d 222 (S.D.N.Y. 2018) ........................................7
  McDonald v. Chicago, 561 U.S. 742 (2010) .......................................................3, 25
  Morris v. United States Army Corps of Eng'rs, 60 F. Supp. 3d 1120 (D. Idaho
    2014) .....................................................................................................................14
  Murphy v. Robert Guerrero, et al., 1:14-CV-00026, 2016 WL 5508998, (D.N. Mar.
    Is. Sept. 28, 2016) .................................................................................................21
  N.Y. State Rifle & Pistol Ass'n v. Cuomo, 804 F.3d 242 (2d Cir. 2015)..................21
  Palmer v. District of Columbia, 59 F. Supp. 3d 173 (D.D.C. 2014) .......................15
  People v. Mitchell, 209 Cal. App. 4th 1364 (2012) ...................................................9
  People v. Yanna, 824 N.W.2d 241 (Mich. Ct. App. 2012) ............................... 13, 14
  Ramirez v. Commonwealth No. SJC-12340, 2018 Mass. LEXIS 237 (Apr. 17,
    2018) .....................................................................................................................13
  Richmond v. Peraino, 128 F. Supp. 3d 415 (D. Mass. 2015) ..................................14
  Silvester v. Harris, 843 F.3d 816 (9th Cir. 2016) ....................................................20
  State v Griffin, 2011 WL 2083893, 2011 Del Super LEXIS 193, (Del Super Ct,
    May 16, 2011) .........................................................................................................9
  State v. DeCiccio, 315 Conn. 79, 105 A.3d 165 (Conn. 2014) .................................8
  State v. Delgado, 692 P.2d 610 (1984) ................................................................9, 12
  State v. Herrmann, 2015 WI App 97 ............................................................ 7, 12, 22
  State v. Montalvo, 162 A.3d 270 (2017) ..............................................................9, 14
  State v. Muliufi 643 P.2d 546 (1982) .........................................................................7
  State v. Murillo, 347 P.3d 284, 289 (2015)....................................................... 10, 12
  Taylor v. City of Baton Rouge, 39 F. Supp. 3d 807 (M.D. La. 2014) .....................18

                                                               iv
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 5 of 31 PageID.156



  Taylor v. McManus, 661 F. Supp. 11, 1986 U.S. Dist. LEXIS 18098, *4 ................1
  THE PEOPLE OF THE STATE OF ILLINOIS, Appellant, v. JULIO CHAIREZ,
    Appellee., 2018 IL 121417, 2018 WL 652814 .....................................................22
  Thomas v. Review Bd. of Ind.do Employment Sec. Div., 450 U.S. 707 (1981) .......17
  Tyler v. Hillsdale Cnty. Sheriff's Dep't, 837 F.3d 678 (6th Cir. 2016) (en banc) .. 22,
    23
  United States v. Chovan, 735 F.3d 1127 (9th Cir. 2013)...................... 12, 15, 16, 20
  United States v. Henry, 688 F.3d 637, 2012 U.S. App. LEXIS 16615, *6-7, 2012
    WL 3217255 ...........................................................................................................4
  Wrenn v. District of Columbia, 864 F.3d 650 (D.C. Cir. 2017). .............................15

  Statutes

  18 U.S.C. § 922(g)(1)........................................................................................ 18, 23
  H.R.S. § 134-53..........................................................................................................1

  Other Authorities

  123 Cameron Crandall, Lenora Olson, Lynne Fullerton, et al., Guns and Knives in
    New Mexico: Patterns of Penetrating Trauma, 1978-1993, 4 ACAD.
    EMERGENCY MEDICINE 265 (1997) ................................................................6
  FBI Crime Statistics- https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-
    2018/topic-pages/violent-crime ..............................................................................6
  Harwell Wilson & Roger Sherman, Civilian Penetrating Wounds to the Abdomen,
    153 ANNALS OF SURGERY 639, 640 (1961).....................................................5
  Linda E. Saltzman, James A. Mercy, Patrick W. O’Carroll et al., Weapon
    Involvement and Injury Outcomes in Family and Intimate Assaults, 267 JAMA
    3043 (1992) .............................................................................................................5

  Rules


                                                              v
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 6 of 31 PageID.157



  Fed. R. Civ. P. 56(a)...............................................................................................2, 3




                                                            vi
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 7 of 31 PageID.158



      I.      Introduction

           James Grell and Andrew Teter (“Plaintiffs”) move for summary judgement in

  their challenge to the State of Hawaii’s ban on the possession of butterfly knives1.

  Plaintiffs wished to purchase a butterfly knife for self-defense and other lawful

  purposes in their home and would acquire, possess, carry and where appropriate use

  a butterfly knife to protect themselves and their homes. [Ex. “A” ¶ 6 & Ex. “B” ¶ 6,

  Dec. of Andrew Teter & Dec. of James Grell]. The butterfly knife:

           originated in the Philippines several hundred years ago. Although
           varied in style and design, the Balisong is basically a folding knife with
           a split handle. In the closed position, the two halves of the handle
           enclose the blade. To open the knife, the two halves are folded back
           until they meet and are then secured by a clasp… While the exotic knife
           has some utilitarian use, it is most often associated with the martial arts
           and with combat.

  Taylor v. McManus, 661 F. Supp. 11, 13, 1986 U.S. Dist. LEXIS 18098, *4.

           H.R.S. § 134-53 provides that “(a) Whoever knowingly manufactures, sells,

  transfers, possesses, or transports in the State any butterfly knife, being a knife

  having a blade encased in a split handle that manually unfolds with hand or wrist

  action with the assistance of inertia, gravity or both, shall be guilty of a

  misdemeanor.” This provision serves to outlaw the possession and use of butterfly



  1
   Butterfly knives are also known as balisong knives and are referred at some points
  as balisong knives in the briefing when referencing other authorities. The knife is
  known as a “butterfly knife” because when opening, the knife resembles a butterfly.
  See https://en.wikipedia.org/wiki/Butterfly_knife (last visited January 14, 2020).
                                               1
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 8 of 31 PageID.159



  knives even within home. As established below, butterfly knives are arms protected

  by the Second Amendment. Thus, this prohibition is a violation of Plaintiffs’ Second

  Amendment rights. Plaintiffs have never been convicted of a crime, either

  misdemeanor or felony and have never been convicted of a crime of domestic

  violence. They have never been deemed by mental health professionals to have a

  mental illness. See Ex. “A” ¶¶ 4-5 & Ex. “B” ¶¶ 4-5, Dec. of Andrew Teter & Dec.

  of James Grell.

           Burton Richardson was designated as Plaintiffs’ expert. He has been

  employed as a martial arts and knife fighting instructor on the Island of Oahu. He

  has decades of experience training with butterfly knives and has extensively studied

  their history. See Exhibit “C” Declaration of Burton Richardson, ¶ 3. In his

  Declaration, Mr. Richardson states that “because of its design [a butterfly knife] has

  the slowest speed of opening of any modern self-defense knife.” Id. at p. 3. Mr.

  Richardson stated that these arms are common arms of the Filipino people. See

  Exhibit “D”, Report of Burton Richardon p. 3. The State’s witness testified that

  butterfly knives were created in the Philippines. See Deposition of Robin Nagamine,

  Exhibit “E”, Tr. at 26.

     II.      Legal Standard

           Summary judgment is proper where there is no genuine issue of material fact

  and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a).

                                            2
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 9 of 31 PageID.160



  Rule 56(a) mandates summary judgment "against a party who fails to make a

  showing sufficient to establish the existence of an element essential to the party's

  case, and on which that party will bear the burden of proof at trial." Celotex Corp. v.

  Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); see also

  Broussard v. Univ. of Cal. at Berkeley, 192 F.3d 1252, 1258 (9th Cir. 1999). See

  Fed. R. Civ. P. 56(a).

     III.     Knives Are Protected by the Second Amendment

            “[T]he Second Amendment extends, prima facie, to all instruments that

  constitute bearable arms, even those that were not in existence at the time of the

  founding,” Caetano v. Massachusetts, 136 S. Ct. 1027, 1027, 194 L. Ed. 2d 99, 99,

  2016 U.S. LEXIS 1862, *1. In this Circuit, this includes all arms “commonly

  possessed by law-abiding citizens for lawful purposes”. See Fyock v. City of

  Sunnyvale, 779 F.3d 991, 998, 2015 U.S. App. LEXIS 3471, *16.

            Post-District of Columbia v. Heller, 554 U.S. 570 (2008) and McDonald v.

  Chicago, 561 U.S. 742 (2010), Hawaii’s ban on butterfly knives cannot withstand

  constitutional muster. Defendants’ witness agreed butterfly knives can be used to

  defend yourself. See Deposition of Robin Nagamine, Exhibit “E”, Tr. at 25:3-5.

  Knives are “in common use today” for the “lawful purpose” of self-defense. Thus,

  they are protected by the Second Amendment. Butterfly knives as a form of knife



                                            3
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 10 of 31 PageID.161



  are protected by the Second Amendment. Under any of the tests this Court may

  apply, Hawaii’s ban cannot survive constitutional muster.

          As a preliminary matter, butterfly knives are not “dangerous and unusual”

  weapons. In United States v Henry, the Ninth Circuit held:

          An object is "dangerous" when it is "likely to cause serious bodily
          harm." Black's Law Dictionary 451 (9th ed. 2009). Congress defines
          "machinegun" as "any weapon which shoots, is designed to shoot, or
          can be readily restored to shoot, automatically more than one shot,
          without manual reloading, by a single function of the trigger." 26
          U.S.C. § 5845(b). The machine gun was first widely used during World
          War I, where it "demonstrated its murderously effective firepower over
          and over again." [citation omitted] A modern machine gun can fire
          more than 1,000 rounds per minute, allowing a shooter to kill dozens of
          people within a matter of seconds. [citation omitted] Short of bombs,
          missiles, and biochemical agents, we can conceive of few weapons that
          are more dangerous than machine guns.

          A machine gun is "unusual" because private possession of all new
          machine guns, as well as all existing machine guns that were not
          lawfully possessed before the enactment of § 922(o), has been unlawful
          since 1986. Outside of a few government-related uses, machine guns
          largely exist on the black market.

  United States v. Henry, 688 F.3d 637, 640, 2012 U.S. App. LEXIS 16615, *6-7,

  2012 WL 3217255.

          Unlike machine guns, arms such as knives that are typically owned for lawful

  purposes receive constitutional protection. Knives are widely owned in every state

  in the Union. Butterfly knives are legal to own in 47 states.2 Knives are also less



  2
      Butterfly knives are illegal in New Mexico, the state of Washington and Hawaii.
                                             4
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 11 of 31 PageID.162



  dangerous than firearms.3 A study of hospital admissions for abdominal wounds

  found that abdominal stabbing cases ended in death 3.1 percent of the time, while

  9.8 percent of gunshot abdominal wounds were lethal. See Harwell Wilson & Roger

  Sherman, Civilian Penetrating Wounds to the Abdomen, 153 ANNALS OF

  SURGERY 639, 640 (1961).

        An examination of 165 family and intimate assaults (FIA) in Atlanta, Georgia

  in 1984 found similar results: firearms-associated FIAs were three times more likely

  to result in death than “FIAs involving knives or other cutting instruments.” See

  Linda E. Saltzman, James A. Mercy, Patrick W. O’Carroll et al., Weapon

  Involvement and Injury Outcomes in Family and Intimate Assaults, 267 JAMA 3043

  (1992) [Docket #1-7, PageID 49]. Another study examined all New Mexico’s

  penetrating traumas (“firearm or stabbing injury”) “who presented to either the state

  Level-1 trauma center or the state medical examiner” from 1978 to 1993.

        This study found that while nonfatal injury rates were similar for firearms and

  stabbing (34.3 per 100,000 person-years for firearms, 35.1 per 100,000 person-years

  for stabbing), firearm fatality rates were much higher than for knives: 21.9 vs. 2.7

  respectively. In other words, 39.0 percent of firearm penetrating traumas were fatal,

  compared to 7.1 percent of knife penetrating traumas; so firearm injuries were 5.5



  3
   See also Deposition of Robin Nagamine, Exhibit “E”, Tr. at 27:19-21. Defendants’
  witness agrees that a “knife is less dangerous than a handgun”.
                                           5
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 12 of 31 PageID.163



  times more likely to result in death than were knife injuries. But not all of the New

  Mexico penetrating traumas were criminal attacks; 44 percent of the firearms deaths

  and 57 percent of the knife deaths were suicides. While 8 percent of the firearms

  deaths were accidents, so were 3 percent of the knife deaths. See 123 Cameron

  Crandall, Lenora Olson, Lynne Fullerton, et al., Guns and Knives in New Mexico:

  Patterns of Penetrating Trauma, 1978-1993, 4 ACAD. EMERGENCY MEDICINE

  265 (1997) [Docket #1-6, PageID 45].

        In 2018 information collected by the FBI collected regarding types of

  weapons used in violent crime showed that firearms were used in 72.7 percent of the

  nation’s murders, 38.5 percent of robberies, and 26.1 percent of aggravated assaults.

  https://ucr.fbi.gov/crime-in-the-u.s/2018/crime-in-the-u.s.-2018/topic-

  pages/violent-crime (last visited 12/19/2019). Knives and other edged weapons

  accounted for approximately 10.7% of murders, 8.4% of robberies and 17.3% of

  aggravated assaults in 2017. See Id.

        As Defendants’ witness testified, butterfly knives are less dangerous than

  handguns which the Heller court found to be the “quintessential self-defense

  weapon” and thus not dangerous and unusual. See District of Columbia v. Heller,

  554 U.S. 570, 629, 128 S. Ct. 2783, 2818 (2008). See Exhibit “E”, Deposition of

  Robin Nagamine, Tr. at 27:19-21. Like nunchucks, butterfly knives, “as used in the

  martial arts, are socially acceptable and lawful behavior, especially here in Hawaii

                                           6
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 13 of 31 PageID.164



  where the oriental culture and heritage play a very important role in society.” See

  State v. Muliufi 643 P.2d 546, 548 (1982).

        Federal courts have used a similar analysis to find other self-defense arms are

  protected by the Second Amendment. In Maloney v. Singas, 351 F. Supp. 3d 222

  (S.D.N.Y. 2018), the United States District Court for the Southern District of New

  York struck the State of New York’s ban on nunchucks as a violation of the Second

  Amendment. It found nunchucks are protected by the Second Amendment because

  they are bearable arms that are typically used for lawful purposes. It then struck New

  York’s ban because the State did not have an important government interest in

  banning these protected arms. A federal court in northern New York used a similar

  analysis to strike New York State’s ban on electric arms. See Avitabile v. Beach,

  2019 U.S. Dist. LEXIS 47506, __ F. Supp. 3d __, 2019 WL 1302858.

        Knives are typically owned for lawful purposes as Courts have

  overwhelmingly found. The courts that ruled on this issue agree knives designed for

  self-defense receive constitutional protection. In State v. Herrmann, 2015 WI App

  97, the Wisconsin Court of Appeals overturned appellant’s conviction for possession

  of a switchblade as unconstitutional. In doing so, the court found that switchblades

  are protected by the Second Amendment and that Wisconsin’s complete ban on their

  possession was unconstitutional.



                                            7
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 14 of 31 PageID.165



        In City of Seattle v. Evans, 366 P.3d 906 (2015), the Washington Supreme

  Court evaluated the conviction for carrying a paring knife (a type of kitchen knife).

  The court found that paring knives are not protected by the Second Amendment

  because paring knives are not designed to be used for self-defense:

        We hold that the right to bear arms protects instruments that are
        designed as weapons traditionally or commonly used by law-abiding
        citizens for the lawful purpose of self-defense. In considering whether
        a weapon is an arm, we look to the historical origins and use of that
        weapon, noting that a weapon does not need to be designed for military
        use to be traditionally or commonly used for self-defense. We will also
        consider the weapon's purpose and intended function.

  City of Seattle at 913. Then the court went on to strongly suggest that knives

  designed for self-defense such as “bowie knives and swords”, having been

  commonly used for self-defense may be considered arms. See City of Seattle at 906.

        In State v. DeCiccio, 105 A.3d 165 (Conn. 2014), the Connecticut Supreme

  Court overturned the conviction for transport of a dirk knife and a baton as a

  violation of the defendant’s Second Amendment rights. In doing so, the court found

  that dirk knives and batons are protected by the Second Amendment because they

  are weapons with traditional military utility that are "typically possessed by law-

  abiding citizens for lawful purposes"; Id. at 625; and not "dangerous and unusual

  weapons." (internal quotation marks omitted.) Id., 627. It then applied intermediate

  scrutiny and held the conviction unconstitutional.



                                            8
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 15 of 31 PageID.166



        In People v. Mitchell, 209 Cal. App. 4th 1364 (2012), a California Court of

  Appeals held:

        the dirk or dagger concealed carrying restriction does not entirely
        prohibit the carrying of a sharp instrument for self-defense; rather, it
        limits the manner of exercising that right by proscribing concealed
        carrying of a dirk or dagger unless the bearer uses a visible knife sheath
        or non-switchblade folding or pocketknife. Because the statute
        regulates but does not completely ban the carrying of a sharp
        instrument, we subject it to intermediate scrutiny.

  Id. at 1374. Here, since Hawaii completely bans butterfly knives, Mitchell supports

  the position that Hawaii’s ban on butterfly knives is unconstitutional.

        In State v. Montalvo, 162 A.3d 270 (2017), the New Jersey Supreme Court

  overturned the conviction for possession of a machete. In doing so, the court found

  that machete-type knives are protected by the Second Amendment and that a

  conviction for their possession in the home was unconstitutional. The Delaware

  Supreme Court has also found knives are protected by the Second Amendment. See

  State v Griffin, 2011 WL 2083893, *7 n62, 2011 Del Super LEXIS 193, *26 n62

  (Del Super Ct, May 16, 2011) (holding that the “right to keep and bear arms” under

  the Delaware Constitution extends to knives, and concluding that the Second

  Amendment right does the same). The Ohio Supreme Court has found knives are

  protected under their State Constitution. See City of Akron v Rasdan, 663 NE2d 947

  (Ohio Ct. App., 1995) (concluding that the “right to keep and bear arms” under the

  Ohio Constitution extends to knives). And in State v. Delgado, 692 P.2d 610 (1984),

                                            9
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 16 of 31 PageID.167



  the Oregon Supreme Court found that Oregon’s ban on the possession of

  switchblades violated the Oregon Constitution’s right to arms.

        Finally, in upholding a criminal conviction for possession of a switchblade,

  the New Mexico Court of Appeals found that knives are protected by the Second

  Amendment and upheld that specific ban applying intermediate scrutiny. It did so

  because:

        the switchblade is ‘designed for quick use in a knife fight.’ … It is, ‘by
        design and use, almost exclusively the weapon of the thug and the
        delinquent.’ Precise Imp. Corp. v. Kelly, 378 F.2d 1014, 1017 (2d Cir.
        1967). The purpose of the legislation—protection of the public from the
        surprise use of a dangerous weapon utilized in large part for unlawful
        activity—is an important governmental purpose. Prohibiting the
        possession of this weapon is, of course, substantially related to this
        narrow, but important, purpose.

  State v. Murillo, 347 P.3d 284, 289 (2015).

        Butterfly knives are highly distinguishable from the type of knife that was at

  issue in Murillo. Plaintiff’s expert Burton Richardson has submitted a declaration

  and an expert report that the butterfly knife was invented by the Filipino people as

  an arm used for lawful purposes. And it is typically used lawfully as a “self-defense

  weapon”. See Declaration of Burton Richardson, Ex. “C”, p.4 This evidence

  distinguishes it from the first contention of the State in Murillo.

        The second relevant bit of evidence submitted by Mr. Richardson is that

  butterfly knives are not designed to be opened quickly compared to normal folding

  knives. “It takes a lot of practice to be able to open the knife quickly and efficiently
                                            10
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 17 of 31 PageID.168



  with one hand, and even with such training, the Balisong is still slower than the most

  popular self-defense knives that are available and legal to carry.” See Exhibit “D”,

  p. 4. Burton Richardson provided a video with his expert declaration to demonstrate

  that a butterfly knife opens much slower than a standard folding knife.4

        As Burton Richardson demonstrates in his video and declaration, the butterfly

  knife opens far slower than a standard folding knife. The time for the two folding

  knives that were test were as follows:

        Single handed wave Folding knife clipped to pocket: 1.467 seconds;

        2 hand opening, folding knife clipped to pocket: 1.200 seconds; and

        Whereas the butterfly knife opened in 2.900 seconds.

  See Expert Report of Burton Richardson at p.5, Exhibit “D”.

        This testimony is supported by the Hawaii Supreme Court’s own observation

  of the several steps required to open a butterfly knife unlike a folding knife:

        Our examination of the butterfly knife in issue reveals that the knife has
        a split metal handle which encases a single-edged blade when in a
        closed position. The knife may be locked in the closed position by using
        a metal safety clasp at the base of the handle. The clasp keeps the halves
        of the handle together. In order to open the knife, the clasp must be
        unlocked; then, both halves are folded away from each other until they
        meet, exposing the blade. By holding both halves of the handle firmly
        together, the blade is then in a secured position to be used. The metal
        clasp, which locks the handle in a closed position, may also be used to
        lock the handle in the open position.

  4
   Mr. Richardson’s expert video is available here: https://youtu.be/nL4VpEoaabE
  and is referenced and included as a part of the record. (last visited January 13, 2020).
                                            11
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 18 of 31 PageID.169




  In re Interest of Doe, 73 Haw. 89, 91, 828 P.2d 272, 274, 1992 Haw. LEXIS 32, *4

  (finding that a butterfly knife is not a switchblade under Hawaii law).

          Since butterfly knives are owned for lawful purposes and open slower than

  common folding knives, Murillo supports the proposition that Hawaii’s ban on

  butterfly knives is unconstitutional. But even without the distinctions between

  Murillo and the instant case, Plaintiffs do not concede that the reasoning in Murillo

  controls here. Plaintiffs believe that the holdings in Delgado and Herrmann are

  much more persuasive and applicable to the instant case. Further, it does not make

  logical sense that an arm less dangerous than a handgun can be banned under the

  framework applied in Heller.

    IV.     This Court Should Find Hawaii’s Butterfly Knife Ban Categorically
            Unconstitutional

          This Circuit employs a two-step test to determine what level of scrutiny to

  apply to a Second Amendment challenge.

          A law that imposes such a severe restriction on the core right of self-
          defense that it "amounts to a destruction of the [Second Amendment]
          right," is unconstitutional under any level of scrutiny. Heller, 554 U.S.
          at 629 (internal quotations omitted). By contrast, if a challenged law
          does not implicate a core Second Amendment right, or does not place a
          substantial burden on the Second Amendment right, we may apply
          intermediate scrutiny. See, e.g., Chovan, 735 F.3d at 1138-39; cf. Heller
          v. District of Columbia (Heller II), 670 F.3d 1244, 1257, 399 U.S. App.
          D.C. 314 (D.C. Cir. 2011) ("[A] regulation that imposes a substantial
          burden upon the core right of self-defense protected by the Second
          Amendment must have a strong justification, whereas a regulation that

                                             12
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 19 of 31 PageID.170



        imposes a less substantial burden should be proportionately easier to
        justify.").

  Jackson v. City & County of San Francisco, 746 F.3d 953, 961, 2014 U.S. App.

  LEXIS 5498, *14, 2014 WL 1193434.

        Here, this Court should strike Hawaii’s ban on the ownership of butterfly

  knives applying the categorical approach. This is because Hawaii’s ban categorically

  bans a type of knife which is protected by the Second Amendment. Two state courts

  have used similar analysis in striking their state’s bans on electric arms. In Ramirez

  v. Commonwealth No. SJC-12340, 2018 Mass. LEXIS 237 (Apr. 17, 2018), the

  Massachusetts Supreme Judicial Court stated as follows:

        Having received guidance from the Supreme Court ..., we now
        conclude that stun guns are "arms" within the protection of the Second
        Amendment. Therefore, under the Second Amendment, the possession
        of stun guns may be regulated, but not absolutely banned. Restrictions
        may be placed on the categories of persons who may possess them,
        licenses may be required for their possession, and those licensed to
        possess them may be barred from carrying them in sensitive places,
        such as schools and government buildings. But the absolute prohibition
        ... that bars all civilians from possessing or carrying stun guns, even in
        their home, is inconsistent with the Second Amendment and is therefore
        unconstitutional. Id at 337-338.

        And in People v. Yanna, 824 N.W.2d 241 (Mich. Ct. App. 2012) the Michigan

  Court of Appeals held that:

        [b]ecause tasers and stun guns do not fit any of the exceptions to the
        Second Amendment enumerated in Heller, we find that they are
        protected arms. Heller found unconstitutional a law which completely
        banned the possession of protected arms in the home. 554 U.S. at 628–

                                           13
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 20 of 31 PageID.171



        629. We therefore hold that a complete ban on tasers and stun guns in
        the home violates the Second Amendment. See Yanna at 246.

        This Court should apply a categorical approach in finding that a complete ban

  on butterfly knives is unconstitutional. This was the approach taken in District of

  Columbia v. Heller, 554 U.S. 570 (2008) when confronted with a complete ban on

  handguns. Pursuant to Heller I, “complete prohibition[s]” of Second Amendment

  rights are always invalid. Id. at 629. It is appropriate to strike down such “total

  ban[s]” without bothering to apply tiers of scrutiny because no such analysis could

  ever sanction obliterations of an enumerated constitutional right. Id. Per Heller, this

  Court could strike down Hawaii’s butterfly knife ban without the need to look to

  scrutiny analysis. This is the approach that many other courts have taken in other

  contexts when dealings with severe restrictions on the Second Amendment.

        The State Supreme Court of New Jersey also applied no scrutiny test in

  finding a conviction for possession of a machete in the home violated the litigant’s

  Second Amendment right. See State v. Montalvo, 077331, 2017 WL 2471030 (N.J.

  June 8, 2017). In Wesson v. Town of Salisbury, 13 F. Supp. 3d 171 (D. Mass. 2014)

  and Richmond v. Peraino, 128 F. Supp. 3d 415 (D. Mass. 2015), the court found that

  a ban on firearms ownership based on decades old marijuana convictions was

  unconstitutional without the need to apply scrutiny.

        The court in Morris v. United States Army Corps of Eng'rs, 60 F. Supp. 3d

  1120 (D. Idaho 2014) found the U.S. Corps of Engineers’ ban on firearms carry for
                                            14
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 21 of 31 PageID.172



  self-defense was categorically invalid. The 7th circuit also invalidated Illinois’ total

  ban on any carrying of firearms in public as categorically unconstitutional. Moore v.

  Madigan, 702 F.3d 933, 940 (7th Cir. 2012). The Illinois Supreme Court followed

  suit in People v. Aguilar, 2 N.E.3d 321, 327 (Ill. 2013) and found the Class 4 form

  of section 24-1.6(a)(1), (a)(3)(A), (d) of the Illinois aggravated unlawful use of

  weapons statute violated the Second Amendment without a scrutiny analysis. Same

  as to the District of Colombia’s ban on handgun carry in Palmer v. District of

  Columbia, 59 F. Supp. 3d 173 (D.D.C. 2014). And again, later regarding DC’s

  licensing scheme put in place post-Palmer in Wrenn v. District of Columbia, 864

  F.3d 650, 665 (D.C. Cir. 2017). This Court should follow the lead of these Courts in

  finding that Hawaii’s complete ban on butterfly knives is unconstitutional without

  the need to look to tiered scrutiny. However, if a level of scrutiny is required, Ninth

  Circuit precedent suggests that strict scrutiny should be applied.

        a. Strict Scrutiny Should Apply

        Post-Heller, the Ninth Circuit has developed a body of case law which

  supports the application of strict scrutiny where a law places a substantial burden on

  the core right to self-defense of a law-abiding person. This is the implication of the

  Ninth Circuit’s holding in Fisher v Kealoha. “Unlike Fisher, however, Chovan

  never argued that section [18 U.S.C.] 922(g)(9) was unconstitutional as applied to

  him because California (Chovan's state of conviction) provided too few of the

                                            15
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 22 of 31 PageID.173



  restoration mechanisms listed in section 921(a)(33)(B)(ii). See [United States v.

  Chovan, 735 F.3d 1127, 1137-42 (9th Cir. 2013)]. Indeed, in Chovan, we applied

  ‘intermediate’ rather than ‘strict’ judicial scrutiny in part because section 922(g)(9)'s

  ‘burden’ on Second Amendment rights was ‘lightened’ by those mechanisms.” See

  Fisher v. Kealoha, 855 F.3d 1067, 1071, 2017 U.S. App. LEXIS 8007, *9, 2017 WL

  1753271. Similarly, if this Court decides not to apply a categorical approach, it

  should apply strict scrutiny. This position finds support in other Ninth Circuit

  precedent. In reviewing a ban on the sale, but not possession, of hollow points in

  Jackson v. City & County of San Francisco, the Ninth Circuit stated:

        A ban on the sale of certain types of ammunition does not prevent the
        use of handguns or other weapons in self-defense. The regulation in this
        case limits only the manner in which a person may exercise Second
        Amendment rights by making it more difficult to purchase certain types
        of ammunition. This is akin to a content-neutral time, place, and manner
        restriction, such as a regulation which prevents a person from owning
        a firearm with an obliterated serial number while not barring the
        possession of an otherwise lawful firearm. See Marzzarella, 614 F.3d
        at 97. Further, section 613.10(g) leaves open alternative channels for
        self-defense in the home. Jackson may either use fully-jacketed bullets
        for self-defense or obtain hollow-point bullets outside of San
        Francisco's jurisdiction. Because section 613.10(g) neither regulates
        conduct at the core of the Second Amendment right nor burdens that
        right severely, we review it under intermediate scrutiny.

  Jackson v. City & County of San Francisco, 746 F.3d 953, 968, 2014 U.S. App.

  LEXIS 5498, *34-35, 2014 WL 1193434.

        Here, Hawaii’s butterfly knife ban is more analogous to a content-based

  speech restriction than the one at issue in Jackson because it is a ban on possession.
                                             16
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 23 of 31 PageID.174



  Thus, strict scrutiny applies, and the State of Hawaii must demonstrate a compelling

  government interest to banning these arms that is narrowly tailored to achieve that

  interest. See Thomas v. Review Bd. of Ind.do Employment Sec. Div., 450 U.S. 707,

  718 (1981) (“The state may justify an inroad on religious liberty by showing that it

  is the least restrictive means of achieving some compelling state interest.”). This is

  the approach that was taken by the Court in Bateman v. Perdue 881 F.Supp.2d 709

  (2012) in evaluating North Carolina’s ban on carrying firearms during an

  emergency:

        There is no dispute that defendants have a compelling interest in public
        safety and general crime prevention. See Schenck v. Pro-Choice
        Network of Western New York, 519 U.S. 357, 376, 117 S.Ct. 855, 137
        L.Ed.2d 1 (recognizing "significant governmental interest in public
        safety"). "`[P]rotecting the community from crime' by keeping guns out
        of the hands of dangerous persons is an important governmental
        interest." United States v. Carter, 669 F.3d 411, 417 (2012).
        The problem here is that the emergency declaration statutes, are not
        narrowly tailored to serve the government's interest in public safety.
        They do not target dangerous individuals or dangerous conduct. Nor do
        they seek to impose reasonable time, place and manner restrictions by,
        for example, imposing a curfew to allow the exercise of Second
        Amendment rights during circumscribed times. Rather, the statutes here
        excessively intrude upon plaintiffs' Second Amendment rights by
        effectively banning them (and the public at large) from engaging in
        conduct that is at the very core of the Second Amendment at a time
        when the need for self-defense may be at its very greatest. See
        Heller, 128 S.Ct. at 2799 ("[A]mericans understood the `right of self-
        preservation' as permitting a citizen to `repe[l] force by force' when `the
        intervention of society in his behalf, may be too late to prevent an
        injury.'" (quoting 1 Blackstone's Commentaries 145-146, n.42 (1803))

                                            17
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 24 of 31 PageID.175



        (second alteration in original)). Consequently, the emergency
        declaration laws are invalid as applied to plaintiffs.
        This Court should apply strict scrutiny as well because Hawaii’s butterfly ban

  intrudes upon Plaintiffs’ Second Amendment rights by effectively banning them

  (and the public at large) from engaging in conduct that is at the very core of the

  Second Amendment. A district court in Louisiana also applied strict scrutiny in

  striking a law banning firearms from the parking lot of any store that sells alcohol.

  See Taylor v. City of Baton Rouge, 39 F. Supp. 3d 807 (M.D. La. 2014).

        In Ezell, the 7th circuit applied “not quite strict scrutiny” to Chicago’s

  prohibition on live-fire training ranges—in part because Chicago required residents

  to undergo such training to obtain a license to possess firearms at all. Ezell v. City of

  Chicago, 651 F.3d 684, 689 (7th Cir. 2011). It found:

        [t]o be appropriately respectful of the individual rights at issue in this
        case, the City bears the burden of establishing a strong public-interest
        justification for its ban on range training: The City must establish a
        close fit between the range ban and the actual public interests it serves,
        and also that the public's interests are strong enough to justify so
        substantial an encumbrance on individual Second Amendment rights.
        Stated differently, the City must demonstrate that civilian target
        practice at a firing range creates such genuine and serious risks to public
        safety that prohibiting range training throughout the city is justified. Id.
        at 708-709.

        A district court in Hatfield v. Sessions, No. 3:16-cv-00383-JPG-RJD, 2018

  U.S. Dist. LEXIS 70431 (S.D. Ill. Apr. 26, 2018) followed this approach in finding

  18 U.S.C. § 922(g)(1) unconstitutional as applied to the litigant. Another district

                                             18
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 25 of 31 PageID.176



  court enjoined the City of Chicago’s ban on guns stores using this approach in Ill.

  Ass’n of Firearms Retailers v. City of Chicago, 961 F. Supp. 2d 928, 930 (N.D. Ill.

  2014) And in Ezell v. City of Chicago (“Ezell II”), 846 F.3d 888 (7th Cir. 2017), the

  7th Circuit enjoined Chicago’s zoning regulations at issue in that case which so

  “severely limit[ed] where shooting ranges may locate” that “no publicly accessible

  shooting range yet exist[ed] in Chicago.” Id. at 894. As a result, the zoning

  regulations, “though not on their face an outright prohibition of gun ranges,

  nonetheless severely restrict the right of Chicagoans to train in firearm use at a

  range.” Id.

        Hawaii has similarly curtailed Plaintiffs’ Second Amendment rights. This

  Court should apply true strict scrutiny and find that the State of Hawaii does not

  have a compelling governmental interest in banning butterfly knives. And even if it

  does, a complete ban on butterfly knives is not narrowly tailored in achieving that

  goal. In the alternative, it should employ the Ezell approach and find Hawaii has not

  demonstrated such a risk to public safety that prohibiting butterfly knife ownership

  throughout the State is justified. However, the State of Hawaii’s ban is so

  nonsensical that even if intermediate scrutiny applies this Court should rule in

  Plaintiffs’ favor.

        b. Under Intermediate Scrutiny Hawaii’s Butterfly Knife Ban is
           Unconstitutional


                                           19
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 26 of 31 PageID.177



        Even if this Court finds intermediate scrutiny is appropriate to the instant case,

  Hawaii’s ban on butterfly knives cannot withstand constitutional muster. Our

  intermediate scrutiny test under the Second Amendment requires that (1) the

  government's stated objective . . . be significant, substantial, or important; and (2)

  there . . . be a 'reasonable fit' between the challenged regulation and the asserted

  objective." Silvester v. Harris, 843 F.3d 816, 821-22 (9th Cir. 2016) (quoting

  Chovan, 735 F.3d at 1139). Under the second prong "intermediate scrutiny does not

  require the least restrictive means of furthering a given end." Id. at 827 (quoting

  Jackson, 746 F.3d at 969. See Duncan v. Becerra, 265 F. Supp. 3d 1106, 1120, 2017

  U.S. Dist. LEXIS 101549, *28, 2017 WL 2813727). In enjoining Hawaii’s ban on

  possession of firearms by resident aliens, Judge Seabright recently held:

        Nevertheless, HRS § 134-2(d), as applied to Fotoudis fails to "pass
        constitutional muster regardless of whether intermediate scrutiny or
        strict scrutiny applies." Fletcher, 851 F. Supp. 2d at 303. See United
        States v. Chester, 628 F.3d 673, 683 (4th Cir. 2010) (applying
        intermediate scrutiny — "substantially related to an important
        government objective"— to a Second Amendment challenge); United
        States v. Reese, 627 F.3d 792, 800-02 (10th Cir. 2010) (observing that
        Heller "indicated only that the rational basis test is not appropriate" and
        that "we must apply some level of heightened scrutiny"). Here,
        assuming § 134-2(d)'s general permit requirement implements an
        "important government objective" (intermediate scrutiny) or a
        "compelling state interest" (strict scrutiny), it is neither "substantially
        related" nor "narrowly tailored" to such interests Fotoudis v. City &
        County of Honolulu, 54 F. Supp. 3d 1136, 1144, 2014 U.S. Dist. LEXIS
        130525, *16-17



                                            20
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 27 of 31 PageID.178



        The same reasoning should apply here. Even under intermediate scrutiny there

  simply is not an important government interest in banning butterfly knives when

  Heller holds that the government cannot ban handguns. And even if there is a

  government interest, a complete ban is not a reasonable fit.        In preliminarily

  enjoining a law banning the ownership of magazines capable of holding more than

  ten rounds, Judge Benítez found that a complete ban did not have a reasonable fit to

  the government interest of public safety. Duncan v. Becerra, 265 F. Supp. 3d 1106,

  1134, 2017 U.S. Dist. LEXIS 101549, *64-68, 2017 WL 2813727. Judge Benítez

  later affirmed this decision at the summary judgement stage. Duncan v. Becerra, 366

  F. Supp. 3d 1131, 2019 U.S. Dist. LEXIS 54597. A similar seven round load limit

  was struck by the Second Circuit in N.Y. State Rifle & Pistol Ass'n v. Cuomo, 804

  F.3d 242 (2d Cir. 2015).

        The State of Hawaii simply has not and cannot present evidence that a

  complete ban on butterfly knives protects public safety. This is because, among other

  things, as demonstrated above, a butterfly knife opens significantly more slowly than

  a common folding knife that is legal to carry in Hawaii. In any event, many Courts

  have struck similar or less restrictive laws based on intermediate scrutiny. The

  District Court for the Northern Marianas Islands recently struck several of its

  weapons laws applying intermediate scrutiny including its ban on “assault

  weapons”. See Murphy v. Robert Guerrero, et al., 1:14-CV-00026, 2016 WL

                                           21
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 28 of 31 PageID.179



  5508998, (D.N. Mar. Is. Sept. 28, 2016). In THE PEOPLE OF THE STATE OF

  ILLINOIS, Appellant, v. JULIO CHAIREZ, Appellee., 2018 IL 121417, 2018 WL

  652814, the Illinois Supreme Court found that found the State of Illinois’ ban on

  carrying a handgun within 1000 feet of public parks violated the Second

  Amendment. In Fletcher v. Haas, 851 F. Supp. 2d 287 (D. Mass. 2012), the Court

  applied intermediate scrutiny and struck Massachusetts’ respective bans on

  permanent resident aliens owning firearms.

        The Wisconsin Court of Appeals in State v. Herrmann, 2015 WI App 97, 366

  Wis. 2d 312, 873 N.W.2d 257 found a complete ban on switchblades failed

  intermediate scrutiny. (“Consequently, while banning possession of switch-blades

  in other settings might be substantially related to the State’s cited objective of

  protecting the public from surprise attacks, prohibiting individuals from possessing

  switchblades in their own homes for their own protection is not”).

        In Tyler v. Hillsdale Cnty. Sheriff's Dep't, 837 F.3d 678 (6th Cir. 2016) (en

  banc) the Sixth Circuit sitting en banc ruled that a person who “has been adjudicated

  intellectually disabled” or “has been committed to a mental institution” is not

  permanently barred from possessing firearms. Judge Julia Gibbons wrote that under

  intermediate scrutiny, the burden of justification is demanding and it rests entirely

  on the State and “in discharging this burden, the government can rely on a wide

  range of sources, including legislative history, empirical evidence, case law, and

                                           22
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 29 of 31 PageID.180



  even common sense, but it may not ‘rely upon mere anecdote and

  supposition”’ (Tyler, No. 13-1876, slip op. at 20). In Tyler, according to Judge

  Gibbons, the government had not presented sufficient evidence of the continued risk

  presented by persons who were previously committed (id. p. 24). Thus, the statute,

  as applied, given the evidence supplied, failed intermediate scrutiny.

        In Binderup v. Att’y Gen., 836 F.3d 336 (3d Cir. 2016) (en banc) the Third

  Circuit sitting en banc applied intermediate scrutiny in finding 18 U.S.C. § 922(g)(1)

  unconstitutional as applied to the litigants:

        But whether we apply intermediate scrutiny or strict scrutiny…the
        Government bears the burden of proof on the appropriateness of the
        means it employs to further its interest. [citations omitted] Here the
        Government falls well short of satisfying its burden—even under
        intermediate scrutiny. The record before us consists of evidence about
        the Challengers’ backgrounds, including the time that has passed since
        they last broke the law. It contains no evidence explaining why banning
        people like them (i.e., people who decades ago committed similar
        misdemeanors) from possessing firearms promotes public safety. Id at
        353-354.

        Keyes v. Sessions, 282 F. Supp. 3d 858 (M.D. Pa. 2017) follows Binderup and

  is an as-applied challenge to § 924(g)(4). There, the court held “[w]e have been

  presented with no evidence to indicate that disarming those who went through a

  period of mental illness and suicide attempts over a decade ago and who have

  regularly carried firearms in their professional capacity since that time reasonably

  fits within the governmental interest to promote safety. As such, 18 U.S.C. §

  924(g)(4) cannot withstand intermediate scrutiny in the face of Keyes’ as-applied
                                             23
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 30 of 31 PageID.181



  challenge.” Id at 878. Recently, the D.C. Court of Appeals in Heller v. District of

  Columbia, 419 U.S. App. D.C. 287, 801 F.3d 264 (2015) (Heller III) struck four

  registration laws applying intermediate scrutiny. There, the Court found that a

  requirement that an individual brings his or her firearm to the police department to

  register it; a requirement that individuals re-register their firearms every three years

  and pay additional fees; a requirement that individuals pass a knowledge test of local

  firearm laws to register any firearm; and a prohibition against registering more than

  one handgun in a 30-day period. Id. at 281.

        The D.C. Court of appeals enjoined the knowledge test requirement

  “[b]ecause the District has offered no evidence from which the court can infer it

  reasonably concluded that knowledge of its gun laws, as shown by passing its test,

  will promote public safety, on this record the requirement must be held

  constitutionally invalid.” Id. at 279.

        Similarly, the State of Hawaii cannot offer evidence from which this Court

  can reasonably infer that the State concluded public safety will be promoted by

  banning the ownership of butterfly knives. And even if it can, a complete ban is not

  a reasonable fit to fulfill that government interest. This Court should find that Hawaii

  law is unconstitutional even if it decides to apply intermediate scrutiny.




                                            24
Case 1:19-cv-00183-ACK-WRP Document 33-1 Filed 01/14/20 Page 31 of 31 PageID.182



     V.      Conclusion

          Post-Heller and McDonald, Hawaii’s ban on butterfly knives is

  unconstitutional. There is no government interest in maintaining this ban. For the

  foregoing reasons, including the declarations of Plaintiffs and Mr. Burton

  Richardson, and the documents attached to the Separate Concise Statement of Facts,

  and the Deposition of Robin Nagamine this Court should enjoin the State of

  Hawaii’s ban on butterfly knives and declare the ban on the ownership of butterfly

  knives unconstitutional.

                Respectfully submitted, this the 14th day of January, 2020.

          /s/ Alan Beck
          Alan Alexander Beck

          /s/ Stephen D. Stamboulieh
          Stephen D. Stamboulieh
          Stamboulieh Law, PLLC
          *Admitted Pro Hac Vice




                                            25
